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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

HISPANIC FEDERATION, et al.,

                    Plaintiffs,
v.                                          Case No. 4:23-cv-00218-MW-MAF

CORD BYRD, in his official capacity
as Secretary of State of Florida, et al.,

                    Defendants.




     PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PARTIAL
                     SUMMARY JUDGMENT
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                         PRELIMINARY STATEMENT
      Defendants’ opposition conﬁrms this Court should issue summary judgment

in Plaintiﬀs’ favor. �ere is no dispute that section 97.0575(1)(f) draws a facial

classiﬁcation based on alienage. Sec’y’s Resp. to Mot. for Summ. Judgment

(“Resp.”), ECF 136 at 4. Nor, as Defendants concede, is there any dispute over the

material facts Plaintiﬀs outline in their Memorandum in Support of Plaintiﬀs’

Motion for Partial Summary Judgment. See id. at 2 (“Material facts aren’t in

dispute[.]”). Instead, Defendants posit that as a matter of law, Plaintiﬀs’ Equal

Protection Clause claim fails. In addition to rehashing arguments this Court already

rejected, Defendants recycle post-hoc rationales for the Non-Citizen Ban that still

ﬂunk strict scrutiny’s demanding bar. None of these arguments change what the

record makes clear: that the Non-Citizen Ban is a textbook Equal Protection Clause

violation. It prohibits all non-citizens from “collecting” or “handling” voter

registration forms on the basis of alienage—no exceptions. �is Court should

accordingly grant Plaintiﬀs’ Motion for Partial Summary Judgment.

I.    There is no need to delay ruling on the motion for partial summary
      judgment; Plaintiffs strongly oppose any delay in resolution.

      Plaintiffs defer to the Court’s discretion on when to decide this motion, but

strongly oppose any delay of this matter’s resolution, including moving the trial date.

There is no need to wait. This is a pure issue of law. Plaintiffs have already prevailed

on this issue at the preliminary injunction stage, and as detailed in the opening brief

and below, the only facts adduced in discovery further undermine the possibility that
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any compelling interest exists to support Florida’s Non-Citizen Ban, or that the Non-

Citizen Ban is narrowly tailored in any way to meet it. There is no reason this Court

cannot issue its decision based on the undisputed material facts before it and the

current state of the law.

II.    Summary judgment should issue in Plaintiffs’ favor.

       “Summary judgment is proper only where there is no genuine issue of material

fact.” Code Revision Comm’n for Gen. Assembly of Ga. v. Public.Resource.Org. Inc.,

906 F.3d 1229, 1235 (11th Cir. 2018), aff’d sub nom. Georgia v.

Public.Resource.Org, Inc., 140 S. Ct. 1498 (2020). Defendants readily admit

“[m]aterial facts aren’t in dispute,” Resp. at 2, and the governing law demands

judgment in Plaintiffs’ favor. Defendants’ misreading of Salerno is unavailing, and

the Non-Citizen Ban fails under strict scrutiny. As for the political-function

exception, this Court has already correctly held it “does not apply here. Full stop.”

ECF 68 at 33. Governing law and the undisputed record should afford summary

judgment in Plaintiffs’ favor on their Equal Protection Clause challenge.

       A.    Defendants misunderstand Salerno.
       Defendants point to the discussion of facial challenges in United States v.

Salerno as support for applying a lower level of scrutiny to the Non-Citizen Ban.

See Resp. at 4 (citing United States v. Salerno, 481 U.S. 739, 745 (1987)). But their

Salerno argument is wrong. Put simply, their claim that Plaintiffs must “put[] aside

permanent residents” to show that the Ban is also “facially unconstitutional as to

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temporary residents and illegal aliens,” id. “misstates the law governing facial

challenges.” Club Madonna Inc. v. City of Miami Beach, 42 F.4th 1231, 1256 (11th

Cir. 2022) (emphasis added).

      To start, as Defendants conceded on appeal, the Supreme Court has repeatedly

“criticized” and declined to apply the rigid “no set of circumstances” gloss on

Salerno that Defendants urge this Court to follow.1 See ECF 133-2 at 28-29. Indeed,

the “no set of circumstances” language in Salerno is dictum—“unsupported by

citation or precedent” and “unnecessary to the holding in the case.” Janklow v.

Planned Parenthood, Sioux Falls Clinic, 517 U.S. 1174, 1175 (1996) (Stevens, J.,

respecting denial of cert.). It has “never been the decisive factor in any decision of

th[e] [Supreme] Court.” City of Chicago v. Morales, 527 U.S. 41, 55 n.22 (1999)

(plurality op.). Rather, the Court has “properly ignored [it] in subsequent cases.”

Janklow, 517 U.S. at 1175; see also id. n.3 (collecting cases); United States v.

Frandsen, 212 F.3d 1231, 1235 n.3 (11th Cir. 2000) (noting the Supreme Court “has

not [] consistently followed” the so-called “rule” and collecting cases).

      Defendants also misconstrue the facial-challenge test that can be correctly

gleaned from Salerno. Properly understood, in the equal-protection context, Salerno



1
 Defendants’ sole Eleventh Circuit authority on Salerno acknowledges that in “more
recent cases the Supreme Court has cut back on the broad statement” that “a
successful facial challenge requires a showing that the law in question is
unconstitutional in all of its applications.” Young Israel of Tampa, Inc. v.
Hillsborough Area Reg’l Transit Auth., 89 F.4th 1337, 1350 (11th Cir. 2024).
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asks whether no set of facts can justify the classification made. That is so because

all “Salerno requires [the Court] to answer is whether the statute fails the relevant

constitutional test.” Club Madonna, 42 F.4th at 1256. 2 Here, Defendants recognize—

as they must—that the statute’s plain language classifies against all non-citizens,

without differentiation. Resp. at 4. That kind of blanket “classification[],” “based on

alienage[,] [is] inherently suspect.” Nyquist v. Mauclet, 432 U.S. 1, 7-8 (1977). So

the “relevant constitutional test” is strict scrutiny. Club Madonna, 42 F.4th at 1256.

See Bernal v. Fainter, 467 U.S. 216, 219 (1984). And nothing in Salerno asks the

Court to examine a clear alienage-based classification under more lenient review on

the basis that it could have been more narrowly drafted.

      Nor does Salerno call upon the Court to rewrite the statute or limit it to a

narrower, hypothetically constitutional classification. Defendants would have the

Court “divorce[] review of the constitutionality of [the] statute from the terms of the

statute itself, and . . . engage in hypothetical musings about potentially valid

applications.” Doe v. City of Albuquerque, 667 F.3d 1111, 1123 (10th Cir. 2012); see

also Club Madonna, 42 F.4th at 1256. But since the Legislature facially

distinguished between persons who are “citizen[s] of the United States of America”



2
  See also Henry v. Abernathy, No. 2:21-cv-797, 2022 WL 17816945, at *6 (M.D.
Ala. Dec. 19, 2022) (“[D]efendants’ free-floating ‘no set of circumstances’
test . . . does not make sense because one cannot determine whether a law is
unconstitutional in all of its applications without applying the relevant constitutional
test to the challenged law—be it strict scrutiny, rational basis, or another test.”).
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and those who are “not a citizen,” Fla. Stat. Ann. § 97.0575(1)(f), the Court evaluates

that classification, not applications of the law to a narrower subgroup of individuals.

      B.     The Non-Citizen Ban fails under strict scrutiny.

      The Non-Citizen Ban fails strict scrutiny. Defendants’ opposition confirms

there is no compelling state interest that justifies prohibiting an entire suspect class

from handling and collecting voter registration forms. Under strict scrutiny, the only

state interests that matter are those that actually motivated the Legislature, not post

hoc rationalizations. See Shaw v. Hunt, 517 U.S. 899, 908 n.4 (1996); Agudath Israel

of Am. v. Cuomo, 983 F.3d 620, 633 (2d Cir. 2020) (“The government’s justification

‘must be genuine, not hypothesized or invented post hoc in response to litigation.’”

(quoting United States v. Virginia, 518 U.S. 515, 533 (1996))).

      Defendants’ state-interests arguments fail strict scrutiny for several reasons.

      First, Defendants concede that the Department of State’s rationales for the

Non-Citizen Ban were contrived post hoc: they came about after the Legislature

passed the law. See Resp. at 6. Those justifications thus cannot show the

Legislature’s “actual purpose” for the Non-Citizen Ban, as they were presented after

the Ban became law. See Miss. Univ. for Women v. Hogan, 458 U.S. 718, 730 (1982).

      Second, considering Defendants’ post hoc rationale alongside the legislative

record does not show a compelling state interest. One sponsor of the Non-Citizen

Ban justified it by saying “there are certain rights in our country that only citizens

get to enjoy,” while another legislator explicitly said the Ban should target

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“illegal[s].” 3 ECF 32 at 34. These statements are the extent of the Legislature’s

alleged justification for the provision. The legislative record contained no evidence

that non-citizens are dangerous or untrustworthy. And these “overbroad

generalizations” are the kind the Supreme Court typically rejects. See Hogan, 458

U.S. at 730 n.16; Orr v. Orr, 440 U.S. 268, 279-80 (1979); Stanton v. Stanton, 421

U.S. 7, 13-14 (1975).

      Third, even if the legislative record contained evidence of non-citizens

mishandling voter registration forms—and it doesn’t—“the Legislature must have

had a strong basis in evidence to support that justification before it implements the

classification.” Shaw, 517 U.S. at 908 n.4. It “must identify” the problem “with some

specificity before they may use” an alienage classification. Id. at 909 (quoting City

of Richmond v. J.A. Croson Co., 488 U.S. 469, 504 (1989). Here, Defendants

concede to a “dearth of evidence involving noncitizens and 3PVRO issues.” Resp.

at 7. That characterization of the undisputed record lays bare that Defendants fall

woefully short of any “strong basis in evidence” standard.

      Nor is the Non-Citizen Ban narrowly tailored—or even rationally tailored—

to address the Legislature’s stated interests. “At the very least, Defendants must be



3
  “[A] bare [] desire to harm a politically unpopular group,” U.S. Dep’t of Agric. v.
Moreno, 413 U.S. 528, 534 (1973), of course, cannot serve “legitimate state
interests,” Lawrence v. Texas, 539 U.S. 558, 580 (2003) (O’Connor, J.,
concurring)—especially when the challenged law sweeps more broadly than that
group alone.
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able to marry the solution to the problem.” ECF 68 at 36. Even after full discovery,

Defendants still haven’t. Their only purported factual justification for the law—

concerns over “untimely submission of forms” and the speculation that non-citizens

“may not have ties to communities” and thus “pose a flight risk”—have no operation

here. All three individual plaintiffs are authorized by the federal government to work

and have either lawful-permanent resident status or pending applications for other

permanent status like asylum. Organizational Plaintiffs’ employees are similarly

federally authorized to work. And the Supreme Court’s decades-long application of

strict scrutiny to alienage classifications does not carve out immigrants “who have

been granted the legal right to reside and work in the United States.” Dandamudi v.

Tisch, 686 F.3d 66, 72 (2d Cir. 2012) (collecting cases). 4



4
  Defendants add a twist to their post hoc justification for the Non-Citizen Ban: that
because courts have found that certain people detained pre-trial with ties to other
countries pose flight risks, the State could make that same judgment about non-
citizens as a class. Resp. at 7-8 (citing Alcazar v. State, 349 So. 3d 930, 933 (Fla.
Dist. Ct. App. 2022)). The Court should reject this offensive argument outright, not
least because the determination in Alcazar was made on a specific factual record:
the State presented evidence that the detained individual—a correctional officer
charged with murder—was a Mexican citizen with “no connection to Miami-Dade
County and significant connections to Mexico,” including specific evidence about
past travel patterns to Mexico. Here, in contrast, an admitted “dearth of evidence”
separates non-citizens as a class from recorded 3PVRO misconduct—or even flight
risk. Resp. at 7; see also ECF 125-10 at 67:11-20 (asked for examples of “individuals
who are noncitizens leaving the United States after committing a voting-related
offense,” Secretary’s 30(b)(6) witness testified he had “never received a complaint
regarding a crime where a crime occurred and then the complaint stated that it was
a noncitizen who left”).


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      This Court should also reject Defendants’ attempt to conscript Brnovich v.

Democratic Nat’l Comm., 141 S. Ct. 2321, 2348 (2021), to say that—even absent

evidence connecting non-citizens to misconduct—“[i]t’s enough that there have

been well-documented issues with 3PVROs” and that “noncitizens, as a whole, may

not have ties to communities and may pose a flight risk.” Resp. at 7-8 (emphasis

added). The Brnovich comparison is inept for the obvious reason that Brnovich was

not a strict-scrutiny case. See Brnovich, 141 S. Ct. at 2336-41 (describing legal test

that applies in Voting Rights Act, Section 2 cases). It did not ask the Court to use

black-letter, equal-protection law to review a classification drawn against a suspect

class. As this Court has already held, the “shoddy tailoring between restriction and

government interest” in this case “falls woefully short of satisfying the strict scrutiny

this Court must apply” (and even “presents a dubious fit under rational basis

review”). ECF 68 at 56.

      Defendants also fail to meaningfully grapple with the tailoring problem posed

by the State’s willingness to employ noncitizens at its Department of State,

Department of Highway Safety and Motor Vehicles, and Supervisor of Elections’

offices. Indeed, Defendants’ rebuttal—“comparing 3PVRO collectors and handlers

with notaries and governmental employees isn’t a fair comparison,” because notaries

and governmental employees are “highly regulated” professions, Resp. at 8—just

proves Plaintiffs’ point. State and local governments often impose regulations—like

background checks—to further government interests without imposing blanket

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classification bans that would target or exclude a suspect class. Nor can Defendants’

allusion to “volunteers” at some 3PVROs save the Ban, which does not distinguish

between employees and volunteers. The Legislature’s choice here to impose a

blanket-alienage ban rather than more targeted regulations only further demonstrates

why the Non-Citizen Ban is not narrowly tailored.

       The Non-Citizen Ban is neither “necessary nor precise.” Examining Bd. of

Engr’s, Architects & Surveyors v. Flores de Otero, 426 U.S. 572, 605 (1976). It fails

strict scrutiny.

       C.     The Political-Function Exception does not Apply.

       Nor is the “‘political function’ exception” applicable. Bernal, 467 U.S. at 220-

21. Courts apply a two-step test to determine when a citizenship-based restriction

falls within the exception: (1) whether the regulation is “sufficiently tailored,” and

(2) whether individuals in the regulated position “participate directly in the

formulation, execution, or review of broad public policy.” Id. at 221-22 (internal

quotation marks and citations omitted).

       Neither factor applies. And the Supreme Court’s warning against letting the

“narrowly construed” exception “swallow the rule” disfavoring blanket-alienage

classifications, id. at 222 n.7, undercuts Defendants’ suggestion that there are ways

other than the Court’s articulated two-part test to discern whether a role falls under

the exemption—or that the test is somehow not “exhaustive,” Resp. at 9.



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      As for the first prong, the Non-Citizen Ban is underinclusive. Many other

positions non-citizens can work in bear closer ties to election integrity, including

supervisory roles in Florida’s Division of Elections. There is no disagreement that

non-citizens can work in supervisory roles within Florida’s Division of Elections.

And in those, non-citizens can handle personal information that includes the same

information on voter registration forms. The Non-Citizen Ban is thus fatally

underinclusive.

      On the second prong, Defendants argue applying the political-function test

only to roles with discretionary and policy-making functions would open “TSA

screeners,” and “military officer[s] carrying the President’s nuclear football” to

Equal Protection Clause challenges. Resp. at 10. This point ignores critical

differences between 3PVRO staff and federal officers. Namely, that Defendants’

examples are all federal positions where the federal government’s interest “is at its

zenith.” United States v. Flores-Montano, 541 U.S. 149, 152 (2004); see also United

States v. Alfaro-Moncada, 607 F.3d 720, 727-28 (11th Cir. 2010). At its core, the

political-function exception “restrict[s] aliens from positions . . . closely bound up

with the operation of the state government.” Jii v. Rhodes, 577 F. Supp. 1128, 1132

(S.D. Ohio 1983) (emphasis added). 5 Defendants’ invocation of national security


5
  See also Baldwin v. Fish & Game Comm’n of Mont., 436 U.S. 371, 383 (1978)
(noting political-function exception recognizes that “[s]ome distinctions between
residents and nonresidents merely reflect the fact that this is a Nation composed of
individual States” (emphasis added)).
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positions only proves the point; Defendants have made no showing that such

sensitivities apply to 3PVRO employees and volunteers.

         Nor are these federal officers and individuals assisting people with voter

registration forms comparable. Federal officers exercise discretion in a way 3PVRO

staff do not—such as when TSA officers decide who can safely board an airplane.

In sum, Defendants’ examples are inapposite.

III.     Plaintiffs have standing to sue the Attorney General, because the
         Attorney General has authority to enforce the challenged law.
         “To establish traceability and redressability in a lawsuit seeking to enjoin a

government official from enforcing the law, a plaintiff must show ‘that the official

has the authority to enforce the particular provision [being] challenged, such that

[the] injunction prohibiting enforcement would be effectual.’” Dream Defs. v. Gov.

of the State of Fla., 57 F.4th 879, 888-89 (11th Cir. 2023) (quoting Support Working

Animals, Inc. v. Gov. of Fla., 8 F.4th 1198, 1201 (11th Cir. 2021)6). “Plaintiffs must

show that their injury is ‘fairly traceable to the challenged action of the defendant,




6
  The Attorney General misconstrues Support Working Animals, Inc. v. Governor of
Florida, 8 F.4th 1198, 1203 (11th Cir. 2021), suggesting that the fact that the
Attorney General has not yet wielded its authority to enforce the law deprives
Plaintiffs of standing. See ECF 135 at 4. Although that case spoke about how the
government-official defendant “had neither enforced nor threatened to enforce the
state law,” 8 F.4th at 1203, the Attorney General omits that the Governor “neither
ha[d] the authority to enforce [the challenged law] nor ha[d] done anything else to
cause the plaintiffs’ harm.” Id. at 1203. Here, the Attorney General has not yet
enforced the Non-Citizen Ban because of the injunction that currently runs against
the Secretary and the Attorney General, not a lack of authority to enforce it.
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and not the result of the independent action of some third party not before the court.’”

Dream Defs. v. DeSantis, 553 F. Supp. 3d 1052, 1078 (N.D. Fla. 2021) (quoting

Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992)).

      Put simply: The question boils down to whether the official has authority to

enforce the challenged law. Compare Dream Defs., 57 F.4th at 889 (“Given this clear

statutory authority, the traceability and redressability requirements are satisfied.”),

with Lewis v. Gov. of Ala., 944 F.3d 1287, 1299 (11th Cir. 2019) (en banc) (“The fact

that the Act itself doesn’t contemplate enforcement by the Attorney General counts

heavily against plaintiffs’ traceability argument.”).

      Here, the statutory authority is clear. The Non-Citizen Ban is enshrined in

Section 95.0575(1)(f) of the Florida Statutes. And Section 95.0575(8) states: “The

Attorney General may institute a civil action for a violation of this section or to

prevent a violation of this section. An action for relief may include a permanent or

temporary injunction, a restraining order, or any other appropriate order.”7


7
  The breadth of the Attorney General’s statutory authority refutes its other citation
to Walters v. Fast AC, LLC, 60 F.4th 642, 650 (11th Cir. 2023), for the proposition
that traceability is lacking where “the [p]laintiff would have been injured in precisely
the same way without” defendant’s conduct. ECF 135 at 4. The Attorney General’s
own briefing explains that the Attorney General and the Secretary are empowered to
harm plaintiffs in different ways: the Secretary “determines the amounts of fines,
issues fine letters to 3PRVROs, and determines whether to waive fines or engage in
further administrative proceedings,” ECF 135 at 3, whereas the Attorney General
has the authority to pursue relief in the form of “a permanent or temporary
injunction, a restraining order, or any other appropriate order,” Fla. Stat.
§ 95.0575(8), or to “institute a civil cause of action to collect a fine assessed by the
Secretary of State,” ECF 125-19 ¶ 7.
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      What’s more, the Office of the Attorney General has repeatedly conceded

during this litigation its authority to enforce the statue. It stipulated that, upon

referral from the Secretary, it has authority to seek “a permanent or temporary

injunction, a restraining order, or any other appropriate relief” to prevent a violation

of the Non-Citizen Ban, and that it has authority to “institute a civil cause of action

to collect a fine assessed by the Secretary of State, after the exhaustion of

administrative remedies.” ECF 125-19 ¶ 7. And its 30(b)(6) representatives admitted

the same. ECF 125-6 at 55:14-56:4 (Attorney General’s 30(b)(6) representative

agreeing that the statute “provides the attorney general with authority to institute a

civil action for a violation of this section or to prevent a violation of this section”);

ECF 125-12 at 126:22-128:8 (Attorney General’s second 30(b)(6) representative

agreeing that, “under the plain text of the statute, OAG may institute a civil action

for violations of this section if the Secretary of State refers it to your office”).

      Given this “clear statutory authority,” traceability and redressability are

satisfied here. Dream Defs., 57 F.4th at 889.

                                    CONCLUSION

      Plaintiffs respectfully request that this Court grant Plaintiffs’ Motion for

Partial Summary Judgment.

                      LOCAL RULE 7.1(F) CERTIFICATE

      This Memorandum contains 2,707 words.




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Dated: February 20, 2024             Respectfully submitted,

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